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     1418 20th Street, First Floor
2    Sacramento, California 95814
     Telephone: (916) 622-1703
3    Fax: (916) 443-1572
4
5    Attorney for Defendant
     MINH HUYNH
6
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )     CR. NO. 99-433 WBS
                                     )
13                  Plaintiff,       )     EX PARTE REQUEST AND [PROPOSED]
                                     )     ORDER FOR TELEPHONE CALLS WEEKLY TO
14        v.                         )     COUNSEL    AND   COURT    APPOINTED
                                     )     INVESTIGATOR
15   MINH HUYNH,                     )
                                     )
16                  Defendant.       )
                                     )
17   _______________________________ )
18
            Defendant, MINH HUYNH, is currently housed at the Sacramento
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       County Main Jail.    I was recently appointed to represent Mr. Huynh by
20
       this Court.   I have been informed that there are over 110,000 pages of
21
       discovery in the case, and I have been attempting to meet with Mr.
22
       Huynh, Mr. Huynh’s investigator, and read as much of the discovery as
23
       possible in order to prepare for Mr. Huynh’s trial. To prepare for Mr.
24
       Huynh’s defense, I am asking that the Court order that Mr. Huynh be
25
       allowed calls weekly to his attorney, Christopher Haydn-Myer, at
26
       telephone numbers (916) 503-1800 and (916) 622-1703, and his court
27
       appointed investigator, Loc Ngo, at telephone number (916) 399-9422.
28
        Case 2:99-cr-00433-WBS Document 730 Filed 01/24/06 Page 2 of 2


1    Dated: January 3, 2006                Respectfully Submitted,
2
                                           /s/Chris Haydn-Myer
3                                          CHRISTOPHER HAYDN-MYER
                                           Attorney for Defendant
4                                          Minh Huynh
5
                                   ORDER
6
          GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that defendant, Minh
7
     Huynh, be allowed calls weekly to his attorney, Christopher Haydn-Myer,
8
     at telephone numbers (916) 503-1800 and (916) 622-1703, and his court
9
     appointed investigator, Loc Ngo, at telephone number (916) 399-9422.
10
          IT IS SO ORDERED.
11
12
     DATED:   January 23, 2006
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28                                          2
